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                                                                                  E-FILED
                                                     Monday, 25 January, 2021 02:03:48 PM
                                                             Clerk, U.S. District Court, ILCD

             IN THE UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF ILLINOIS
                     SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                       Plaintiff,       )
            v.                          )      Case No. 19-cr-30067-2
                                        )
WILLIE HEDDEN,                          )      The Honorable
                                        )      Richard Mills,
                       Defendant.       )      United States
                                        )      District Judge, Presiding.

          MOTION TO VACATE CHANGE OF PLEA HEARING

     NOW COMES Defendant, WILLIE HEDDEN, by and through

his attorneys, Mark Kevin Wykoff, Sr. of the Wykoff Law Office, LLC,

and James E. Elmore of Elmore and Reid, and for his Motion to

Vacate Change of Plea Hearing, states to this Honorable Court as

follows, that:

     1.     A Change of Plea Hearing was previously scheduled for

January 26, 2021, at 2:00 p.m. before the Honorable Judge Richard

Mills.

     2.     Last   week,    Defendant       had   an     unexpected         and

unfortunate medical event that required hospitalization.

     3.     So as to afford the Defendant an appropriate period of

time to recuperate to ensure that his anticipated plea of guilty is


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knowing, intelligent and voluntarily made, Defendant respectfully

prays that his change of plea setting be vacated.

     4.       The parties will contact the Court to obtain a new change

of plea setting henceforth.

     5.       The Government has been consulted as to this Motion

and poses no objection thereto.

     6.       Any and all delay shall be occasioned by the actions of

the Defendant.

     7.       Neither the rights of the Government, nor those of the

Defendant, will be jeopardized by the granting of the relief prayed

for herein.

     8.       This Motion is not brought for the purposes of delay; the

ends of justice served by granting this continuance outweigh the

best interests of the Defendant and the public in a speedy trial. 18

U.S.C. §3161(h)(7)(A).

     WHEREFORE,          Defendant, WILLIE HEDDEN, respectfully

prays that this Honorable Court, for all of the reasons set forth

herein, vacate his change of plea setting, and grant him any and all

other relief as this Honorable Court deems just and equitable.




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               Respectfully Submitted,

               WYKOFF LAW OFFICE, LLC

    By:        /s/ `tÜ~ ^xä|Ç jç~Éyy? fÜA
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    By:        /s/ ]tÅxá XA XÄÅÉÜx
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           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS

                   CERTIFICATE OF SERVICE

I hereby certify that on January 25, 2021, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system,
which will send notification of such filing to the following:

Mr. Timothy A. Bass, Esq.                    Mr. James E. Elmore, Esq.
Assistant U.S. Attorney                      808 South Second Street
U.S. Attorney’s Office                       Springfield, IL 62704
318 South Sixth Street
Springfield, IL 62701

and I hereby certify that I have mailed by United States Postal
Service the document to the following non-CM/ECF participants:

Mr. Willie Hedden
415 Camden Road
Mt. Sterling, IL 62353




/s/`tÜ~ ^xä|Ç jç~Éyy? fÜA              /s/]tÅxá XA XÄÅÉÜx
Mark Kevin Wykoff, Sr.                 James E. Elmore
Reg. No. 6292093                       Reg. No. 6184214
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